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IN THE UNITED STATES DISTRICT COURT
FOR THE WESTERN DISTRICT OF TENNESSEEBS JUH f L, AH m l 5

 

WESTERN DIVISION

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JAMES I. BURLISON )
RODNEY L. WAITS )
BUF()RD O’NEAL TANKERSLEY )
)
Plaintiffs, )
)

v. ) No. 2:04CV2597 DP

)
UNITED STATES OF AMERICA, )
)
l)efendants. )

 

ORDER ALLOWING PLAINTIFFS’ MOTION FOR LEAVE T() FILE REPLY AND
SUPPLEMENTAL MEMORANDUM IN SUPPORT OF PLAINTIFFS’
MOTION FOR SUMMARY JUDGMENT

 

THIS CAUSE came on to be heard upon the Motion of the Plaintiff for leave to file a
reply and supplemental memorandum in support of Plaintiffs’ motion for summary judgment,
and there being no opposition to same,

lT lS THEREFORE, ORDERED AND DECREED that the Plaintiffs’ reply and
supplemental memorandum in support of their motion for summary judgment shall be filed and
considered by the Court.

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Notice of Distribution

This notice confirms a copy of the document docketed as number 39 in
case 2:04-CV-02597 Was distributed by faX, mail, or direct printing on
June 15, 2005 to the parties listed.

 

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Honorable .l on McCalla
US DISTRICT COURT

